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1    JOSEPH H. HUNT
     Assistant Attorney General
2    NICOLA T. HANNA
     United States Attorney
3    DAVID K. BARRETT, AUSA
     Chief, Civil Fraud Section
4    LISA A. PALOMBO, AUSA
     ROSS M. CUFF, AUSA (SBN 275093)
5          Room 7516, Federal Building
           300 N. Los Angeles Street
6          Los Angeles, California 90012
           Tel: (213) 894-7388; Fax: (213) 894-7819
7          Email: Ross.Cuff@usdoj.gov
     ANDY J. MAO
8    SARA MCLEAN
     WILLIAM C. EDGAR
9    ERIC SCHMELZER
     Attorneys, Civil Division
10   United States Department of Justice
           175 N Street NE, Room 9.121
11         Washington, DC 20002
           Tel: (202) 307-0256; Fax: (202) 307-3852
12         Email: Eric.Schmelzer@usdoj.gov
13   Attorneys for United States of America
14                            UNITED STATES DISTRICT COURT
15                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                                  WESTERN DIVISION
17   RELMAN COLFAX PLLC,                         No. CV-19-08612 PSG (JCx)
18              Plaintiff,                       UNITED STATES’ EX PARTE
                                                 APPLICATION FOR ORDER
19                     v.                        PERMITTING UNITED STATES’
                                                 INTERVENTION AND REPLACING
20   FAIR HOUSING COUNCIL OF SAN                 THE OPPOSITION AND
     FERNANDO VALLEY AND MEI                     DECLARATION OF MEI LING WITH
21   LING,                                       REDACTED VERSION;
                                                 MEMORANDUM OF POINTS AND
22              Defendants.                      AUTHORITIES IN SUPPORT
                                                 THEREOF; DECLARATION OF ROSS
23                                               M. CUFF
24                                               [LODGED CONCURRENTLY:
                                                  [PROPOSED] ORDER PERMITTING
25                                                UNITED STATES’ INTERVENTION
                                                  AND REPLACING THE OPPOSITION
26                                                AND DECLARATION OF MEI LING
                                                  WITH REDACTED VERSION]
27
                                                 Hon. Philip S. Gutierrez
28                                               Courtroom 6A
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1    MEI LING,
2        Counter-Claimant,
3                   v.
4    RELMAN COLFAX PLLC,
5        Counter-Defendant.
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1          TO THE HONORABLE COURT AND TO ALL PARTIES AND COUNSEL
2    OF RECORD:
3          PLEASE TAKE NOTICE the United States of America hereby applies to the
4    Court ex parte for an order: (1) permitting intervention by the United States in this action
5    for the limited purposes of protecting its privileged and confidential settlement
6    information; (2) removing from the public docket Defendant and Counter-Claimant Mei
7    Ling’s Opposition and Declaration (Dkt. # 104)—which contains the United States’
8    privileged and confidential settlement information—and replacing it with the redacted
9    version filed as Exhibit 1 to the attached Declaration of Ross M. Cuff (Cuff Decl.); (3)
10   directing all parties other than the United States and Ms. Ling to destroy or return to the
11   United States all copies of the unredacted Opposition and Declaration; and (4) directing
12   Ms. Ling not to reveal the United States’ privileged and confidential settlement
13   information in any future filings or communications related to this or any other action,
14   unless she obtains prior written authorization from the Court or counsel for the United
15   States.
16         Plaintiff and Counter-Defendant Relman Colfax PLLC and Defendant Fair
17   Housing Council of San Fernando Valley do not oppose this ex parte application.
18   Despite repeated inquiries from counsel for the United States, Defendant and Counter-
19   Claimant Mei Ling has not clearly stated her position regarding this application. Based
20   on discussions with Ms. Ling, however, the United States’ best understanding and
21   presumption is that she opposes the application.
22         Good cause exists for the requested relief, as established in the attached
23   Memorandum of Points and Authorities and Cuff Declaration. As detailed in the Cuff
24   Declaration and the attached Memorandum, Ms. Ling has, in a related action pending
25   before this Court, repeatedly filed and lodged papers that include privileged and
26   confidential settlement information protected by the common interest privilege, which
27   the United States has not waived. The Court has already ordered Ms. Ling to cease such
28   disclosures in the related action, and cautioned Ms. Ling that if she continues to do so

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1    she will be subject to sanction. The United States reserves the right to seek additional
2    remedies against Ms. Ling in that action as well.
3          Consistent with the requirements of Local Rule 7-19.1, counsel for the United
4    States has made reasonable, good faith efforts orally to advise counsel for all parties and
5    Ms. Ling of the date and substance of this ex parte application. (Cuff Decl. ¶¶ 6-13).
6     Dated: April 9, 2020                      Respectfully submitted,
7                                               JOSEPH H. HUNT
                                                Assistant Attorney General
8                                               NICOLA T. HANNA
                                                United States Attorney
9                                               DAVID K. BARRETT, AUSA
                                                Chief, Civil Fraud Section
10                                              LISA A. PALOMBO, AUSA
11                                              ANDY J. MAO
                                                SARA MCLEAN
12                                              WILLIAM C. EDGAR
                                                ERIC SCHMELZER
13                                              Attorneys, Civil Division
                                                United States Department of Justice
14
15                                              /s/ Ross M. Cuff
                                                ROSS M. CUFF
16                                              Assistant United States Attorney
17
                                                Attorneys for Plaintiff United States of
18                                              America
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Plaintiff the United States of America applies to the Court ex parte for an order:
4    (1) permitting intervention by the United States in this action for the limited purposes of
5    protecting its privileged and confidential settlement information; (2) removing from the
6    public docket Defendant and Counter-Claimant Mei Ling’s Opposition and Declaration
7    (Dkt. # 104)—which contains the United States’ privileged and confidential settlement
8    information—and replacing it with the redacted version filed as Exhibit 1 to the attached
9    Declaration of Ross M. Cuff (Cuff Decl.); (3) directing all parties other than the United
10   States and Ms. Ling to destroy or return to the United States all copies of the unredacted
11   Opposition and Declaration; and (4) directing Ms. Ling not to reveal the United States’
12   privileged and confidential settlement information in any future filings or
13   communications related to this or any other action, unless she obtains prior written
14   authorization from the Court or counsel for the United States. The United States also
15   reserves the right to seek additional remedies in the False Claims Act case currently
16   pending in this Court, United States ex rel. Ling, et al. v. City of Los Angeles, No. CV-
17   11-00974 PSG (JCx) (the “FCA Action”).
18         Plaintiff and Counter-Defendant Relman Colfax PLLC and Defendant Fair
19   Housing Council of San Fernando Valley (“FHC”) do not oppose this ex parte
20   application. Despite repeated inquiries from counsel for the United States, Defendant and
21   Counter-Claimant Mei Ling has not clearly stated her position regarding this application.
22   Based on discussions with Ms. Ling, however, the United States’ best understanding and
23   presumption is that she opposes the application.
24   II.   BACKGROUND
25         The United States, Ms. Ling, and the FHC are all parties to the FCA Action,
26   where Ms. Ling has repeatedly and improperly filed privileged information. (FCA
27   Action, Dkts. # 256, 257-1, 274, 286, 288, 305, 320). In response to ex parte applications
28   filed by the United States in the FCA Action, the Court has removed filings by Ms. Ling

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1    that improperly disclosed the United States’ privileged material and replaced them with
2    redacted versions. (FCA Action, Dkts. # 275, 289, 299, 326, 342). The Court has also
3    ordered Ms. Ling to stop disclosing the United States’ privileged information and
4    directed that if Ms. Ling violates the Court’s order, the Court will bar her from making
5    any additional filings in the FCA action. (FCA Action, Dkt. # 325).
6           On March 9, 2020, Ms. Ling filed an Opposition and Declaration (Dkt. #104) to
7    Relman Colfax’s motion to dismiss her counterclaims. On March 17, 2020, in response
8    to a communication from Ms. Ling, counsel for the United States reviewed Ms. Ling’s
9    Opposition and Declaration and discovered the document included privileged and
10   confidential settlement information protected by the common interest privilege shared by
11   the United States and the relators in the FCA Action. (Cuff Decl. ¶ 5).
12   III.   GOOD CAUSE EXISTS FOR THE COURT TO GRANT EX PARTE
13          RELIEF
14          To justify ex parte relief, a party must show (1) it will be irreparably harmed if its
15   motion “is heard according to regular noticed motion procedures” and (2) it “is without
16   fault in creating the crisis that requires ex parte relief, or that the crisis occurred as a
17   result of excusable neglect.” Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp.
18   488, 492 (C.D. Cal. 1995). This application satisfies both requirements. First, the United
19   States would be irreparably harmed if its motion to intervene for the limited purpose of
20   removing Ms. Ling’s Opposition and Declaration were heard according to regular
21   noticed motion procedures. As with the United States’ prior ex parte applications in the
22   FCA Action, allowing the privileged and confidential settlement information in Ms.
23   Ling’s Opposition and Declaration to remain on the docket reveals the United States’
24   confidential assessment of the FCA Action and deliberations regarding settlement.
25   Further, if the United States filed a noticed motion—thus prolonging the amount of time
26   the privileged material remains on the public docket—it may need to contend with a
27   waiver argument regarding the privileged information. See, e.g., United States v. de la
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1    Jara, 973 F.2d 746, 750 (9th Cir. 1992) (holding defendant waived his privilege by
2    failing to try to recover privileged material within six months).
3           Second, the United States is without fault in creating this predicament. Indeed,
4    counsel for the United States previously sought to avoid and remedy precisely this
5    situation by filing its prior ex parte applications in the FCA Action. (FCA Action, Dkts.
6    # 271, 284, 294, 317, 336). The present ex parte application is necessary only because
7    Ms. Ling has disregarded the Court’s order and warning, as well as the United States’
8    repeated filings on the matter. Consequently, good cause exists for the Court to grant ex
9    parte relief.
10   IV.    THE COURT SHOULD GRANT THE UNITED STATES LEAVE TO
11          INTERVENE FOR THE LIMITED PURPOSE OF PROTECTING ITS
12          PRIVILEGED AND CONFIDENTIAL SETTLEMENT INFORMATION
13          Federal Rule of Civil Procedure 24 provides for intervention as of right and for
14   permissive intervention. Under either standard, the Court should permit the United States
15   to intervene for the limited purpose of protecting its privileged information.
16          In deciding whether to grant intervention as of right under Rule 24(a), courts in
17   the Ninth Circuit apply a four-part test:
18          (1) the application for intervention must be timely; (2) the applicant must have
            a “significantly protectable” interest relating to the property or transaction that
19          is the subject of the action; (3) the applicant must be so situated that the
20          disposition of the action may, as a practical matter, impair or impede the
            applicant's ability to protect that interest; and (4) the applicant's interest must
21          not be adequately represented by the existing parties in the lawsuit.
22   Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 822 (9th Cir. 2001). The United
23   States’ application meets this test.
24          First, the United States’ application for intervention is timely. Under this factor,
25   courts consider “(1) the stage of the proceedings; (2) whether the parties would be
26   prejudiced; and (3) the reason for any delay in moving to intervene.” Nw. Forest Res.
27   Council v. Glickman, 82 F.3d 825, 836 (9th Cir. 1996). Here, the proceedings are still at
28   an early stage, intervention by the United States to protect its privilege will not prejudice
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1    any of the parties, and the United States did not delay after learning it needed to
2    intervene. Accordingly, this application is timely.
3           Second, the United States’ interest in protecting its common interest privilege is a
4    significantly protectable interest within the meaning of Rule 24(a). See, e.g., Stevens v.
5    Brigham Young Univ.-Idaho, No.: 4:16-cv-00530-DCN, 2018 WL 2974388, *12−13 (D.
6    Idaho June 11, 2018) (permitting intervention under Rule 24(a) to protect attorney-client
7    privilege).
8           Third, if the United States is not permitted to intervene for the limited purpose of
9    asserting privilege and seeking the removal of privileged and confidential settlement
10   material from the public docket, its ability to protect its privilege will be impaired. See
11   id. at *13.
12          Fourth, the United States’ interest in protecting the privileged and confidential
13   settlement material—information shared between the United States and Ms. Ling’s
14   former counsel—is not adequately protected by the parties to this lawsuit. None of the
15   parties here share the United States’ interest in protecting its privileged information.
16   Because the United States meets all four prongs of the test, it should be permitted to
17   intervene as of right under Rule 24(a).
18          Even if intervention as of right is not allowed, the Court may still allow
19   permissive intervention when a party “has a claim or defense that shares with the main
20   action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). Permissive
21   intervention requires: “(1) an independent ground for jurisdiction; (2) a timely motion;
22   and (3) a common question of law and fact between the movant's claim or defense and
23   the main action.” Beckman Indus., Inc. v. Int'l Ins. Co., 966 F.2d 470, 473 (9th Cir.
24   1992). Additionally, “the court must consider whether the intervention will unduly delay
25   or prejudice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).
26          The United States’ application meets the permissive-intervention standard. First,
27   “an independent jurisdictional basis is not required” here because the United States
28   “do[es] not seek to litigate a claim on the merits.” Beckman Indus., 966 F.2d at 473.
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1    Second, as described above, the United States’ application is timely. Third, “the Ninth
2    Circuit has clarified that a party need not assert a literal ‘claim or defense’ that requires a
3    pleading in order to permissively intervene in a case.” Stevens, 2018 WL 2974388 at
4    *14. Courts find it sufficient where the intervenor is asserting a privilege. See, e.g., id.;
5    SEC v. Goldstone, No. CIV 12-0257 JB/LFG, 2013 WL 6920854, at *30 (D.N.M. Dec.
6    13, 2013). Finally, the United States’ intervention for the sole purpose of protecting its
7    privileged and confidential settlement information by replacing Ms. Ling’s Opposition
8    and Declaration with a redacted version will neither delay this litigation nor prejudice the
9    adjudication of the merits. The United States should be permitted to intervene for this
10   limited purpose.
11   V.    GOOD CAUSE EXISTS TO REMOVE THE LING OPPOSITION AND
12         DECLARATION FROM THE PUBLIC DOCKET AND TO ORDER MS.
13         LING TO REFRAIN FROM REVEALING PROTECTED INFORMATION
14         As the United States noted in its prior ex parte applications in the FCA Action, the
15   “strong presumption” of public access to court records can be overcome. Kamakana v.
16   City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). Two standards govern
17   motions to seal documents: (1) a “compelling reasons” standard that applies to
18   dispositive pleadings; and (2) a “good cause” standard that applies to non-dispositive
19   pleadings. Id. at 1179−80. To meet the compelling reasons standard, a “party must
20   articulate[] compelling reasons supported by specific factual findings that outweigh the
21   general history of access and the public policies favoring disclosure.” Id. at 1178−79
22   (citations and quotation marks omitted). “Courts generally accept attorney-client
23   privilege and the work-product doctrine as a ‘compelling reason’ justifying a motion to
24   seal.” Watchguard Techs., Inc. v. iValue Infosolutions Pvt. Ltd., No. C15-1697-BAT,
25   2017 WL 3581624, at *2 (W.D. Was. Aug. 18, 2017) (collecting cases). By contrast,
26   meeting the good cause standard requires only a particularized showing under Federal
27   Rule of Civil Procedure 26(c). Kamakana, 447 F.3d at 1180.
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1          Here, the United States’ request to seal the privileged portions of Ms. Ling’s
2    Opposition and Declaration meets even the more demanding compelling-reasons
3    standard. First, the United States and relators in the FCA action enjoy a common interest
4    privilege in their shared litigation against the City, whether or not they signed an
5    agreement.1 See United States v. Gonzalez, 669 F.3d 974, 978 (9th Cir. 2012) (describing
6    the common interest privilege and noting the privilege exists even without a written
7    agreement and cannot be unilaterally waived by a single party); Carolina Casualty Ins.
8    Co. v. Oahu Air Conditioning Serv., Inc., No. 2:13-cv-1378, 2015 WL 1469286, at *2-3
9    (E.D. Cal. Mar. 27, 2015) (noting that the Ninth Circuit has long recognized the joint
10   defense privilege, that no written agreement is required for the privilege to exist, and that
11   one party cannot unilaterally waive the privilege for other holders); United States ex rel.
12   Burroughs v. DeNardi Corp., 167 F.R.D. 680, 686 (S.D. Cal. 1996) (finding the
13   existence of a common interest privilege between the United States and an FCA relator).
14   Second, the communications revealed in Ms. Ling’s Opposition and Declaration that the
15   United States has marked for redaction are protected by the common interest privilege.
16   See Gonzalez, 699 F.3d at 978 (noting the common interest privilege applies to
17   communications among jointly interested plaintiffs even before litigation has
18   commenced) (citing In re Grand Jury Subpoenas, 902 F.2d 244, 249 (4th Cir. 1990)).
19   Third, common interest communications meet the compelling reasons standard and
20   should be sealed to prevent public disclosure. See, e.g., Watchguard Techs., 2017 WL
21   3581624 at *3; Schwartz v. Cook, No. 5:15-cv-03347-BLF, 2016 WL 1301186, at *4
22   (N.D. Cal. Apr. 4, 2016).2
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              As noted previously in filings in the FCA Action, this privilege was
25   memorialized in a common interest agreement signed by counsel for Relators and the
     United States. (Cuff Decl. ¶ 4).
26          2
              In addition to the grounds for the United States’ motion to seal, “courts have
27   inherent power to strike inappropriate materials,” including “confidential mediation and
     settlement information that are improperly part of the public record,” Children’s
28   Cerebral Palsy Movement, Inc. v. Sawitz, No. SACV 18-00563-CJC (JDEx), 2018 WL
     6340754, at *5 (C.D. Cal. Nov. 16, 2018) (citation and quotation marks omitted).
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1          In short, Ms. Ling’s Opposition and Declaration should not remain on the docket
2    in its current form because it includes the unauthorized disclosure of the United States’
3    privileged and confidential settlement information, which should not be publicly
4    disclosed. Instead, the Court should prevent the disclosure of information protected by
5    the common interest privilege by replacing the current version of the Opposition and
6    Declaration with the redacted version attached as Exhibit 1 to the Cuff Declaration.
7    Additionally, the parties to this action should be barred from any use of that information,
8    from arguing there has been any broader waiver, and from the opportunity to seek any
9    additional material protected by the work product doctrine and the common interest
10   privilege.
11         Finally, the United States requests that the Court again clarify for Ms. Ling, who
12   is currently proceeding pro se, that further unauthorized disclosures of the United States’
13   privileged and confidential settlement information are impermissible. If Ms. Ling
14   continues her pattern of disclosing privileged and confidential settlement information in
15   her declarations, the United States will suffer additional injury and will have to file
16   additional requests to remove and redact her filings. Because the United States does not
17   intend to waive its privilege, the parties and the Court will be forced to deal with every
18   one of Ms. Ling’s unauthorized disclosures going forward. Such harm to the United
19   States and waste of judicial and party resources can be avoided if Ms. Ling complies
20   with a Court order directing her to follow her obligations under the parties’ common
21   interest agreement and applicable law and prior order.
22         Specifically, the United States requests that the Court order Ms. Ling not to
23   include in her submissions to the Court or to disclose or describe to any party or person
24   (other than her counsel or the United States) any information relating to either
25   (a) confidential communications regarding the FCA Action between counsel for the
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1    United States and Ms. Ling or her counsel that took place before August 15, 2019,3
2    (b) confidential communications with counsel for the United States and/or the
3    Department of Housing and Urban Development for the purpose of providing legal
4    advice related to the FCA Action, or (c) documents or other materials prepared by
5    counsel for the United States or their agents in preparation for or the prosecution of the
6    FCA Action. The United States also reserves its right to seek additional remedies in the
7    FCA Action.
8    VI.   THE UNITED STATES HAS COMPLIED WITH THE LOCAL RULES
9          REGARDING EX PARTE APPLICATIONS
10         Pursuant to Local Rule 7-19.1, counsel for the United States made reasonable,
11   good faith efforts orally to advise counsel for all parties and Ms. Ling of the date and
12   substance of this ex parte application. (Cuff Decl. ¶¶ 6-13). Plaintiff and Counter-
13   Defendant Relman Colfax PLLC and Defendant Fair Housing Council of San Fernando
14   Valley (“FHC”) do not oppose this ex parte application. (Id. ¶¶ 7-8). Despite repeated
15   inquiries from counsel for the United States, Defendant and Counter-Claimant Mei Ling
16   has not clearly stated her position regarding this application. Based on discussions with
17   Ms. Ling, however, the United States’ best understanding and presumption is that she
18   opposes the application. (Id. ¶ 9-13).
19         Pursuant to Local Rule 7-19, the name, address, telephone number, and email
20   address of Relator Mei Ling, the only party opposing this application, are:
21         Mei Ling
           6750 Whitsett Avenue, Unit 310
22         North Hollywood, CA 91606
           Telephone: 818-644-3923
23         Email: mei.ling818@yahoo.com
24   VII. CONCLUSION
25         For the reasons set forth above and in the attached Cuff Declaration, the United
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27         3
             On August 15, 2019, Ms. Ling, for the first time, disavowed to United States’
28   counsel any joint interest privilege between herself and the United States. (FCA Action,
     Dkt. # 271 at 6-7, 16).
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1    States respectfully requests that the Court grant its ex parte application for an order:
2    (1) permitting the United States to intervene in this action for the limited purposes of
3    protecting its privileged and confidential settlement information; (2) removing from the
4    public docket Defendant and Counter-Claimant Mei Ling’s Opposition and Declaration
5    (Dkt. # 104)—which contains the United States’ privileged and confidential settlement
6    information—and replacing it with the redacted version filed as Exhibit 1 to the Cuff
7    Declaration; (3) directing all parties other than the United States and Ms. Ling to destroy
8    or return to the United States all copies of the unredacted Opposition and Declaration;
9    and (4) directing Ms. Ling not to reveal the United States’ privileged and confidential
10   settlement information in any future filings or communications related to this or any
11   other action, unless she obtains prior written authorization from the Court or counsel for
12   the United States.
13
14   Dated: April 9, 2020                        Respectfully submitted,
15                                               JOSEPH H. HUNT
                                                 Assistant Attorney General
16                                               NICOLA T. HANNA
                                                 United States Attorney
17                                               DAVID K. BARRETT, AUSA
                                                 Chief, Civil Fraud Section
18                                               LISA A. PALOMBO, AUSA
19                                               ANDY J. MAO
                                                 SARA MCLEAN
20                                               WILLIAM C. EDGAR
                                                 ERIC SCHMELZER
21                                               Attorneys, Civil Division
                                                 United States Department of Justice
22
                                                 /s/ Ross M. Cuff
23                                               ROSS M. CUFF
                                                 Assistant United States Attorney
24
                                                 Attorneys for Plaintiff United States of
25                                               America
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1                              DECLARATION OF ROSS M. CUFF
2          I, Ross M. Cuff, declare:
3          1.       I am an Assistant United States Attorney assigned responsibility for
4    handling this action and the related False Claims Act case pending before the Court,
5    United States ex rel. Ling, et al. v. City of Los Angeles, No. CV-11-00974 PSG (JCx)
6    (the “FCA Action”). This declaration is offered in support of the United States’ ex parte
7    application for an order removing Relator Mei Ling’s March 9, 2020 Opposition and
8    Declaration (Dkt. # 104) from the docket in this action and replacing it with a redacted
9    version.
10         2.       Attached as Exhibit 1 is a true and correct copy of docket item 104 in this
11   action, redacted to obscure the portions that the United States believes are privileged
12   under the common interest agreement between the United States and the relators in the
13   FCA Action, and the portions that disclose confidential settlement communications.
14         3.       The Fair Housing Council of San Fernando Valley (“FHC”), Defendant in
15   this action, is a relator in the FCA Action. Mei Ling, Defendant and Counter-Claimant in
16   this action, is also a relator in the FCA Action.
17         4.       From my review of the government’s files regarding the FCA Action, I
18   know that on February 4, 2015, counsel for the United States and counsel for Ms. Ling
19   and the FHC executed an agreement regarding common interest and disclosure of
20   information.
21         5.       On March 17, 2020, Ms. Ling called the United States Attorney’s Office
22   and left a message with one of the office’s legal assistants, who conveyed the message to
23   me orally and in writing. Among other things, Ms. Ling told the legal assistant that my
24   colleagues and I should have been aware of Ms. Ling’s upcoming medical appointment
25   because she had informed the Court about it in a filing. Because I was unaware of any
26   such filing in the FCA Action, I reviewed the docket in this action and observed that Ms.
27   Ling had filed an Opposition and Declaration on March 9, 2020. When I reviewed the
28   March 9 Opposition and Declaration, I discovered that the document included

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1    information protected by the common interest privilege shared by the United States and
2    the relators in the FCA Action, as well as confidential settlement negotiations and offers.
3    This privileged and confidential settlement information was the same type of material
4    the Court has previously and repeatedly found to be privileged in the FCA Action.
5          6.       The United States has filed this ex parte application in compliance with all
6    applicable local rules. As required by Local Rule 7-19.1, I made reasonable, good faith
7    efforts orally to advise all counsel and Ms. Ling orally of the date and substance of the
8    ex parte application on March 27, 2020.
9          7.       At approximately 3:05 p.m. on March 27, 2020, I called counsel for
10   Plaintiff and Courter-Defendant Relman Colfax PLLC and left a voicemail describing
11   the date and substance of this application. On March 27, 2020, I sent a follow-up email
12   to counsel for Relman Colfax describing this application. On March 28, 2020, counsel
13   for Relman Colfax informed me by email that Relman Colfax does not oppose this
14   application.
15         8.       At approximately 3:22 p.m. on March 27, 2020, I called counsel for
16   Defendant FHC and left a voicemail describing the date and substance of this
17   application. On March 27, 2020, I sent a follow-up email to counsel for FHC describing
18   this application. On March 27, 2020, counsel for FHC informed me by email that FHC
19   does not oppose this application.
20         9.       At approximately 9:15 a.m. on March 27, 2020, my colleague Assistant
21   U.S. Attorney Lisa Palombo and I called Defendant and Counter-Plaintiff Mei Ling and
22   briefly described the date and substance of this ex parte application. Ms. Ling requested
23   that we send her an email describing the application for her to review. At 12:14 p.m. on
24   March 27, 2020, I sent an email describing the date and substance of this application to
25   mei.ling818@yahoo.com, the email address Ms. Ling has repeatedly used to
26   communicate with counsel for the United States. That email also informed Ms. Ling that
27   any opposition to the ex parte application would have to be filed by mail under the Order
28   of the Chief Judge 20-042 regarding In re Coronavirus Public Emergency Activations of
                                                11
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1    Continuity of Operations Plan, which I attached to the email.
2          10.     On March 30, 2020, counsel for the United States received an email from
3    mei.ling818@yahoo.com, which noted it was drafted by someone named Pamela who
4    works as Ms. Ling’s caretaker. In the email, Pamela requested that the United States
5    send Ms. Ling a copy of the United States’ proposed redactions to Ms. Ling’s
6    Opposition and Declaration. At approximately 11:11 a.m. on March 30, 2020, I sent an
7    email to Ms. Ling and attached documents showing the United States’ proposed
8    redactions.
9          11.     On March 30, 2020, counsel for the United States received another email
10   from mei.ling818@yaohoo.com, which again noted it was drafted by Pamela, Ms. Ling’s
11   caretaker. Among other things, Pamela requested that Ms. Ling be allowed until April 3,
12   2020 to state whether she opposes the ex parte application.
13         12.     On April 6, 2020, I emailed Ms. Ling to inquire about her position
14   regarding the United States’ ex parte application. Ms. Ling responded by email later that
15   day, and requested that counsel for the United States have a conference call with Ms.
16   Ling to discuss her position on either Wednesday, April 8 or Thursday, April 9, 2020.
17         13.     On April 7, 2020, my colleague AUSA Lisa Palombo emailed Ms. Ling to
18   inform her that counsel for the United States could speak to her at 1:00 p.m. on
19   Wednesday, April 8, 2020. During the conference call, counsel for the United States
20   repeatedly asked Ms. Ling whether she opposed the ex parte application, but Ms. Ling
21   did not provide a clear response. Based on that conversation, however, our best
22   understanding and presumption is that she opposes the application.
23   //
24   //
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1          14.    The preceding is based on my personal knowledge except where otherwise
2    indicated.
3          I declare under penalty of perjury that the foregoing is true and correct.
4          Executed on April 9, 2020, at Los Angeles, California.
5
                                                   /s/ Ross M. Cuff
6                                                  ROSS M. CUFF
                                                   Assistant United States Attorney
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